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EXHIBIT D
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ina: WR GRACE & CO-CONN Debtor, Cage No. 01-03 40

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

NAKE AND HAZLING ADDRESS, DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
INCLUDING 257 CODE, OF INTEREGT BSYATE WHETHER LEASE IS FOR NONRESEDENTIAL REAL
QTHER PARTIES To LEASE of PROPERTY. STATE CONTHACT NUMBER OF ANY GOVERNMENT CONTRACT
CONTRACT

2683417 - 2OGKEAIT Typa of Contract: DISTRIBUTOR AGREEMENT

ROCOR INTERNATIONAL GHA AOCOR TRANS Term: ONE YEAR

ATTN: CLIFF REYNOLDS
PO BOX 75367
OWLAHOMA EITY OK #324? -G387

1882752 = EONGSTS? Tyne of Contract: CONSTRUCTION CONTRACT
ROHM AND HAAS COMPANY Tar: TEN YRARS

ATTH: DENNIS LODWIG

100 INDEPENDENCE MALL WEST
PHIDADELPHEA PA 19206-2398

1easa40 - L0o6es68 Type of Contract CONFIDENTEALITY AGREEMENT
ROHH AND HANS COMPANY Term: THO YEARS

ATTN: ANGELA M. BOBUCINSKI
5000 RICHMOND STREET
PHILADELPHIA = PA 19137

1680823 - j0063027 typa of Contrach: PROPERTY LEASE
ROLLO ENTERPRISES tearm; MONTH TO HONTH

P.O. BOX 10004
BIRMINGHAM AL 35210

LG7TH027 + 210062833 Type of Contract: CONSULTZNG SRAVICES
RON MACNEIL Texmr 10 YEARS

247 CONCORD ROAD
LINCOLN MA 03773

1679263 - 10062565 Type of Contract: COLLECTIVE BARGAINING AGREEMENT
RON VARLEY, STAPF REP. Term; O/a/00 -+ 2/32/03

UNITED STERLWORKERS OF AHERECA
135 ALBERT STREGT

P.O, HOX 946

OQSHAHA ON LIH TN)

CANADA

3679084 ~- 10082890 Type of Contract: SERVICE /REFURBESHMENT/REPAZR
ROOF MANAGEMENT CONSULTANTS Term:  ENDETERMINATE

$127 WH. INDIAN LANE
GHENDALE AZ

2693052 - 19065097 Type of Contract: CONFIDENTINEITY AGREEMENT
ROQUETTE AMERICA, INC Term: THO YEARS

ATTN: H.R, JORGENSOH
3417 EXCHANGE STREET
REGRUK TA 52632-6647

AS79089 - indhensd Type of Contractr SEAVECE/REFURATENNEWT/AESATT
ROSS ENVIRONMENTAL SERVICES form: INDETERMINATE

394 GILES ROAD
GRAFTON CH 44044

1603340 ~- 10066360 Type of Contract: COMMERCIAL AGENCY AGREEMENT
ROUREE, MATIAG VEAGARA Term: THO TEARS

ATTH, HATIAS ROURKE
VITACURA $996

GFF 3905

VITACURR CP

SANTIAGO 6600522
CHILE

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Inns WR GRACE & CO-CONN Debtor, Cass No 07-D1140

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

NAME AND MALLING ADDRESS, DESCRIPTION OF CONTRACT OR LEASE AND NATURE OP DEBTOR'S
INCLUDING ZIP CODE, OF INTEREST STATE WHETHER LEASE ZS FOR NONRESTDENTIAL REAL

concn es TO LEASE OR PAOPERTY STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT

1681358 - rG0b42794 Type of Contract: INSURANCE AGREEMENT
ROYAL INDEMNZTY co

ROYAL INSURANCE
$100 ARROWPOINT BOULEVARD
CHARLOTTE NC 248276

1682359 + 1O0s4205 Types of Contract: INSURANCE AGREEMENT
ROYAL INDEMNITY CO

ROYAL INSURANCE
$306 ARROHPOINT ROULEVARD
CHARLOTTE NO 78270

L754 T + 2O0ES253 Type of Contractr SUPPLIER
RPO 5.4. Term: 8/25/03

AV, HORGO?O B/H CASTLEA 704

CONCON 56

CHILE

1683387 + 100GG807 Types of Contract: CONPEDENTEALITY AGREEMENT
RPM/ CHEMICAL COATINGS Term: N/A

ATTN: JOHN BCRIERLMANN
P.O BOX $355

WIGH POINT Ne 27262

1678866 ~ 10062672 Type of Contract: SALES AGREEMENT
RE COHCRETE, LC Ferm: 32/31/03

24500 CHAIBIMAN ROAD
HOUSTON =6- TX

AG750a85 = LOoR2095 type of Contrack: CGRFIDENTIALETY AGREEMENT
RUTGERS ORGANICE, GHEY Tex: § YEARS

SANDHOFER S'TRASSE 96
MANNHEIM D-68305
GERMANY

3679424 - 10060250 Type of Contract: EQUIPMENT LEASE
RYDER TRUCK RENTAL, INC. Term: AfRUAANST » 6/14/2003
710 LANEY WALKER BLVD EXT
AUGOSTA GA 40909

2e79F29 ~ 10063435 Type of Contract: CONGULTING SERVICES
S. V. BABU, PH, D, Texm: ONE YR EXPIRATION

CENTER FOR ADVANCED MAT'LS PROCESR
CLARKSON UNIVERSITY

POTSDAM NY 13695-5705

V6THGET - h062573 Type of Contract: SALES AGREEMENT
SABOYD SNTEAPHISES Tern: 32/32/03

BP. O, BOX 4707
BRYAN TX 77805

AO79090 - 20062856 Type of Contract: CONFIDENTIALITY AGREEMENT
SACHE ITHOLA Term: 5 YEARS
WEA SELICE PROVINCLALE, 17/A
THOLA BG 40026
ITALY

Pago: i687? oF 244

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Inte: WR GRACE & CO -CONN Debter, Cose No 01-01140

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

NAME AND MALLING ADPREgS,
INCLUDING ZIP CODE, OF
OTHER PARTIES FO LEASE OR
CONTRACT

DESCRIPTION OF CONTRACT OR LEARE AND NATURE OF DEBTOR‘S
INTEREST STATE WHETHER LEASE 16 FOR NONRESIDENTIAL REAL
PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT

1681360 - 100G42R6
SAFECO

GEN'L TNS CO OF AMERICA
SAFECO PLAZA

SEATTOR WA 86105

‘Type of Contract: TNGURANCE AGREEMENT

1682553 - 1lo065859

SAFRIPOL, DIV, OF S. A POLYMER OL
ATEN: BP, F. CYRLIERS

P, 0, BOX 700

SASOLBURG 3570

SOUTH APRICA

Type of Contract:
Ferm: 2 YEARS

CONFEDENTIALITY AGREEMENT

3601012 - 40663930
SAIA KOTOR

11465 JOHN CREEK PRHY
DULUTH GA 430057

Type of Contract: GENERAL

Term: EVERGREEN

V1ZB591 = 20060664
SALVATION ARMY

GEN COUNSEL

1424 NORTH East EXPRESGHAY
ATLANTA GA 36325-2086

Type of Contract: LEASE: BUTLDING
Term: EXP 7/2001

1679180 - looszse6

SAMUEL H PENN, STATF REP
APL,CIG, CLC, LOCAL 14007
UNITED STEBLNORKERS, DIGIRICT 35
P.O. BOX 27933

CHATTANDOGA «= TN 37422

Type of Contract: COLLECTIVE BARGAINING AGREEMENT
Torm: G/2/8a -« 5/31/03

3692181 ~- 10309232

GAN TOMAS LIMITED PARTNERSHIP

C/O JANES F. KNOTT BEVELOPMENT COAP
ATTN: JOR GROVES, V.P.

ONE TEXAS STATION COUNT, STE 200
TIMONION MD 2iOSo

Type of Contract: LEASE: BUZLDING

Term: 3/32/03

1GEi562 - EOG6A4EH
SMNBORN, HEAD & ABBOCIATES, INT
6 GARVING FALLS ROAD
CONCORD WH 03391

Type of Contract: EXGINEPRING aTvnyY

Term: NG EXPXRATION

168574 + FOosAsSCO
SANBORN, HEAD & ASSOCEATES. INC
& GARVINS FALLS ROAD
CONCORD NH 93301

Type of Contract: ENGINEERING STUDY

Tarm: NO EXPIRATION

L6G3575 ~- 100G450)

SABORW., HEAD & AGBOCIATES, INC
6 GRRVINS FALLS ROAD

cONCcoHD NH 697307

Tyre of Contract: ENGINEERING STUDY

Term: NO EXPIRATION

1678933 ~ 10062739
sANDOZ LTD.

P.O. BOX CHe4602
BASEL

SWITZERLAND

Type of Contract: LICHENS AGREEMENT

Taxm; INDETERMINATE

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